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                        Exhibit 8
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Attorneys for Defendants

                      IN THE UNITED STATES DISTRICT COURT

                            FOR THE DISTRICT OF WYOMING

DIOCESE OF CHEYENNE, et al.,              )
                                          )
              Plaintiffs,                 )   Civil Action No. 14-CV-21-S
                                          )
                                          )
       v.                                 )
                                          )   DEFENDANTS’ UNOPPOSED
                                          )   MOTION TO STAY DISTRICT
KATHLEEN SEBELIUS, in her official        )   COURT PROCEEDINGS
capacity as Secretary of the U.S.         )   PENDING APPEAL
Department of Health and Human            )
Services; et al.,                         )
                                          )
              Defendants.                 )
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       Defendants move this Court to enter an order staying further proceedings in this Court

pending resolution of plaintiffs’ appeal to the United States Court of Appeals for the Tenth

Circuit of this Court’s denial of plaintiffs’ motion for a preliminary injunction. Counsel for the

parties conferred and counsel for plaintiffs indicated that they do not oppose this motion.

       On May 13, 2014, this Court entered an order denying plaintiffs’ motion for a

preliminary injunction. See Order, ECF No. 42. The Court determined, among other things, that

plaintiffs had not demonstrated a likelihood of success on their Religious Freedom Restoration

Act (“RFRA”) claim. On May 15, 2014, plaintiffs filed a Notice of Interlocutory Appeal in

which plaintiffs appealed this Court’s order denying plaintiffs’ motion for a preliminary

injunction to the United States Court of Appeals for the Tenth Circuit. See Notice of Appeal,

ECF No. 44. That same day, plaintiffs moved the Court for an injunction pending appeal, and

the Court denied their motion on May 23, 2014. See Motion for an Injunction Pending Appeal,

ECF No. 43; Order, ECF No. 51.

       Defendants moved the Court to toll their answer deadline, pending resolution of the

motion for an injunction pending appeal. See Order, ECF No. 49. Absent a stay of district court

proceedings, defendants intend to move to dismiss the complaint in its entirety under Federal

Rule of Civil Procedure 12(b)(6) for failure to state a claim upon which relief may be granted.

“Although the filing of an interlocutory appeal does not automatically stay proceedings in the

district court, the district court has broad discretion to decide whether a stay is appropriate to

promote economy of time and effort for itself, for counsel, and for litigants.” Association of

Irritated Residents v. Fred Schakel Dairy, 634 F. Supp. 2d 1081, 1094 (E.D. Cal. 2008).

       Defendants’ intended motion to dismiss will raise legal issues regarding plaintiffs’ RFRA

claims that are likely to be addressed by the Tenth Circuit in adjudicating plaintiffs’ appeal of
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this Court’s denial of a preliminary injunction. Some of defendants other arguments turn on this

Court’s finding that plaintiffs did not demonstrate a substantial burden on their religious

exercise. Defendants believe it would be inefficient to concurrently litigate these issues in both

courts. Further, because plaintiffs do not oppose this motion, it is not prejudicial to either party.

       The District Court for the Northern District of Indiana recently stayed district court

proceedings under similar circumstances in Univ. of Notre Dame v. Sebelius. See Order, Univ.

of Notre Dame v. Sebelius, No. 3:13-cv-01276-PPS-CAN, Jan. 2, 2014, ECF No. 54. In that

case, which brought a challenge on similar grounds to the same regulatory scheme, the district

court denied plaintiff’s motion for a preliminary injunction, and plaintiff appealed. Univ. of

Notre Dame, ECF Nos. 40, 43. The court stayed all district court proceedings “during the

pendency of the appeal to the Seventh Circuit of the denial of Notre Dame’s request for a

preliminary injunction.” Order, ECF No. 54 at 1. The parties respectfully request that this Court

do the same.

       The parties wish to reserve the right to request that this Court reopen district court

proceedings prior to resolution of the appeal under appropriate circumstances. The Court, of

course, retains discretion to accept or reject any such request.

       Accordingly, the parties respectfully request that this Court enter an order staying all

district court proceedings until the Tenth Circuit issues a ruling resolving plaintiffs’ appeal of

this Court’s denial of preliminary injunctive relief or until further order of this Court.

       Respectfully submitted this 2nd day of June, 2014,


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                                                       United States Attorney

                                                       C. LEVI MARTIN (WY Bar #6-3781)
                                                       Assistant United States Attorney
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                                CERTIFICATE OF SERVICE

       I hereby certify that on June 2, 2014, I electronically filed the foregoing with the Clerk of

the Court using the CM/ECF system, which sent notice of such filing to all parties.


                                                /s/ Julie S. Saltman   _
                                              JULIE S. SALTMAN
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                         IN THE UNITED STATES DISTRICT COURT                           F1L " D
                                                                               U.S. DISTfv.cr COURT
                              FOR THE DISTRICT OF WYOMING                     DiS' OCT OF UVOMIMG

                                                                                     nav 33 pn 3 55
                                                                             STEPHAN n,ii;R(S, CLERK
DIOCESE OF CHEYENNE, et al.
                                                                                       CASPER

               Plaintiffs,

       vs.                                                       Case No. 14-CV-21-SWS


KATHLEEN SEBELIUS, in her official
capacity as Secretary of the U.S. Department of
Health and Human Services, et al.

               Defendants.



                                    ORDER STAYING CASE



       This matter comes before the Court on Defendants' Unopposed Motion to Stay District

Court Proceedings Pending Appeal (ECF No. 53). Having considered the motion, the Plaintiffs'

consent, and being otherwise advised, the Court finds good cause supports the motion.

       IT IS THEREFORE ORDERED that Defendants' Unopposed Motion to Stay District

Court Proceedings Pending Appeal (ECF No. 53) is hereby GRANTED.

       IT IS FURTHER ORDERED that this case is STAVED pending the Tenth Circuit's

adjudication of Plaintiffs' appeal or upon further order of this Court.

       DATED this                day of June, 2014.


                                                               . Skavdahl
                                                      United States District Judge
